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                     UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

UNITED STATES OF AMERICA

v.                                              Case Number: 4:12−cr−00503

Jason Daniel Gandy



                               NOTICE OF RESETTING

A proceeding has been reset in this case as to Jason Daniel Gandy as set forth
below.

Before the Honorable Lee H Rosenthal
PLACE:
Courtroom 11B
United States District Court
515 Rusk Street
Houston, TX 77002


DATE: 12/6/2021
TIME: 01:30 PM
TYPE OF PROCEEDING: Evidentiary Hearing


Date: November 10, 2021                                      Nathan Ochsner, Clerk
